
ORDER
hThe Office of Disciplinary Counsel (“ODC”) has filed formal charges against respondent alleging that he committed serious attorney misconduct, the most significant of which involves conversion of client funds. Respondent now seeks to permanently resign from the practice of law in lieu of discipline. The ODC has concurred in respondent’s petition.
Having considered the Petition for Voluntary Permanent Resignation from the Practice of Law filed by Raymond J. Le-Jeune, Louisiana Bar Roll number 8294, and the concurrence thereto filed by the ODC,
IT IS ORDERED that the request of Raymond J. LeJeune for permanent resignation in lieu of discipline be and is hereby granted, pursuant to Supreme Court Rule XIX, § 20.1 and Rule 5.5 of the Rules of Professional Conduct.
IT IS FURTHER ORDERED that Raymond J. LeJeune shall be permanently prohibited from practicing law in Louisiana or in any other jurisdiction in which he is admitted to the practice of law; shall be permanently prohibited from seeking readmission to the practice of law in this state or in any other jurisdiction in which he is admitted; and shall be permanently prohibited from seeking admission to the practice of law in any jurisdiction.
FOR THE COURT:
/s/ Bernette Joshua Johnson JUSTICE, SUPREME COURT OF LOUISIANA
